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                                 IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF OREGON



     J.N., by and through his next friend, Cheryl          Case No. 6:19-cv-00096-AA
     Cisneros, E.O., by and through his next friend,
     Alisha Overstreet; J.V., by and through his           DEFENDANTS’ REBUTTAL TO
     next friend, Sarah Kaplansky; B.M. by and             PLAINTIFFS’ CONCISE STATEMENT OF
     through his next friend, Traci Modugno; on            MATERIAL FACT
     behalf of themselves and all others similarly
     situated, and

     COUNCIL OF PARENT ATTORNEYS AND
     ADVOCATES, INC.,

                       Plaintiffs,
               v.

     OREGON DEPARTMENT OF
     EDUCATION,

     COLT GILL, in his official capacities as
     Director of Oregon Department of Education
     and Deputy Superintendent of Public
     Instructions for the State of Oregon, and

     TINA KOTEK, in her official capacities as
     Governor and Superintendent of Public
     Instruction for the State of Oregon,

                       Defendants.


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            Asserted Undisputed
               Material Fact                  Cited Evidence                            State’s Response

                                  Dr. Bateman’s Investigation and Findings
     1. The parties agreed to the      Interim Settlement              Not material.
     criteria employed by neutral      Agreement, ECF No. 157-1 at
     expert Dr. David Bateman,         4-5; Report of the Neutral Fact
     who gathered evidence             Finder, ECF No. 157-2 at 14-
     regarding the use of Shortened 16 (discussing scope of the
     School Days for disability-       neutral expert’s work).
     related behaviors (“SSD” or
     “SSDs”) and sought to answer
     questions about the use of
     SSDs in Oregon.
     2. During the 2018-2019           Id. at 29.                      The Neutral Expert Report
     school year, at least 1029                                        states that “[i]n 2018-2019
     Oregon students were placed                                       there were 1029 students
     on SSDs due to behavior                                           placed on SSD” with the caveat
     issues.                                                           that “as these are baseline date
                                                                       on this topic, a conclusive
                                                                       answer cannot be determined.”
                                                                       Neutral Expert Rep. at 29
                                                                       (ECF No. 157-2 at 30).

                                                                                  As detailed in the State’s
                                                                                  evidence, ODE is rolling out a
                                                                                  comprehensive framework to
                                                                                  validate these numbers and
                                                                                  prevent misuse of SSD in
                                                                                  Oregon. Wells Decl. ¶¶ 24-
                                                                                  30; Wetherell Decl. ¶¶ 5-17.
     3. During the 2019-2020          Id. at 29.                                  The Neutral Expert Report
     school year, at least 986                                                    states that “In 2019-2020 there
     Oregon students were placed                                                  were 986 students placed on
     on SSDs due to behavior                                                      SSD” with the caveat that “as
     issues.                                                                      these are baseline date on this
                                                                                  topic, a conclusive answer
                                                                                  cannot be determined.”
                                                                                  Neutral Expert Rep. at 29
                                                                                  (ECF No. 157-2 at 30).

                                                                                  As detailed in the State’s
                                                                                  evidence, ODE is rolling out a
                                                                                  comprehensive framework to
                                                                                  validate these numbers and
                                                                                  prevent misuse of SSD in
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        Asserted Undisputed
           Material Fact                      Cited Evidence                            State’s Response
                                                                                  Oregon. Wells Decl. ¶¶ 24-30;
                                                                                  Wetherell Decl. ¶¶ 5-17.
    4. Between 2017 and 2020,         Id. at 28, 33, 73 (Among the                Not disputed that the Neutral
    students in about 140 Oregon      185 of 197 Oregon school                    Expert Report made this
    school districts were placed on   districts that responded to Dr.             finding.
    SSDs.                             Bateman’s survey, 128
                                      reported SSD use. 57 school                 As detailed in the State’s
                                      districts did not place any                 evidence, ODE is rolling out a
                                      students on SSDs between                    comprehensive framework to
                                      2017 and 2020).                             validate these numbers and
                                                                                  prevent misuse of SSD in
                                                                                  Oregon. Wells Decl. ¶¶ 24-30;
                                                                                  Wetherell Decl. ¶¶ 5-17.
    5. Oregon schools collect         Id. at 47, 64.                              ODE’s abbreviated school day
    insufficient data to indicate                                                 guidance expressly addresses
    when an “informal removal”                                                    informal removals, specifying
    shortens a student’s school                                                   that “if a call is made to a
    day.                                                                          parent/guardian to indicate
                                                                                  their student is having
                                                                                  behavioral difficulties, and the
                                                                                  staff caller suggests or implies
                                                                                  that the parent should come
                                                                                  pick up the student, any time
                                                                                  removed from school that
                                                                                  results from that call should be
                                                                                  documented as an Out-of-
                                                                                  School Suspension (OSS).”
                                                                                  Wetherell Decl. Ex. 3 at
                                                                                  CPAA-ODE-035322
                                                                                  (emphasis in original).

                                                    In addition, ODE is in the
                                                    process of developing
                                                    additional formal guidance on
                                                    informal removals and
                                                    improper use of exclusionary
                                                    practices applied to students.
                                                    ODE expects to roll out this
                                                    guidance in May 2023.
                                                    Wetherell Decl. ¶ 9.
     6. An “informal removal” is     Id. at 47.     The Office of Special
     when a student is “taken out of                Education and Rehabilitative
     the classroom and forced to                    Services describes informal
     remain elsewhere in the school                 removal as follows:
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          Asserted Undisputed
              Material Fact                   Cited Evidence                            State’s Response
     without receiving any
     instruction, or when a school                                                “Informal removal, although
     staff member or administrator                                                not defined in IDEA and its
     calls a student’s                                                            implementing regulations,
     parent/guardian to come pick                                                 means action taken by school
     up the student and take him or                                               personnel in response to a
     her home because the                                                         child’s behavior that excludes
     student’s behaviors are too                                                  the child for part or all of the
     difficult to handle.”                                                        school day, or even an
                                                                                  indefinite period of time.
                                                                                  These exclusions are
                                                                                  considered informal because
                                                                                  the school removes the child
                                                                                  with a disability from class or
                                                                                  school without invoking
                                                                                  IDEA’s disciplinary
                                                                                  procedures. Informal removals
                                                                                  are subject to IDEA’s
                                                                                  requirements to the same
                                                                                  extent as disciplinary
                                                                                  removals by school personnel
                                                                                  using the school’s disciplinary
                                                                                  procedures. Informal removals
                                                                                  include administratively
                                                                                  shortened school days when a
                                                                                  child’s school day is reduced
                                                                                  by school personnel, outside
                                                                                  of the IEP Team and
                                                                                  placement process, in response
                                                                                  to the child’s behavior.”
                                                                                  https://sites.ed.gov/idea/idea-
                                                                                  files/qa-addressing-the-needs-
                                                                                  of-children-with-disabilities-
                                                                                  and-idea-discipline-
                                                                                  provisions/#_Toc108604306
                                                                                  (last visited Apr. 13, 2023).
     7. Dr. Bateman found that        Id. at 157-2, at 47, 6                      The Neutral Expert Report
     informal removals were                                                       states that Informal Removal
     “being used very frequently”                                                 is “being used frequently with
     in Oregon.                                                                   students with disabilities due
                                                                                  to behavior difficulties,”
                                                                                  Neutral Expert Rep. at 47
                                                                                  (ECF No. 157-2 at 48), and
                                                                                  recommends that ODE
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        Asserted Undisputed
           Material Fact                      Cited Evidence                             State’s Response
                                                                                  “[i]ssue guidance on how to
                                                                                  document Informal
                                                                                  Removals,” Neutral Expert
                                                                                  Rep. at 6 (ECF No. 157-2 at
                                                                                  7). ODE has addressed this
                                                                                  recommendation. Wetherell
                                                                                  Decl. Ex. 3 at CPAA-ODE-
                                                                                  035322.

                                                                                  ODE is in the process of
                                                                                  developing additional formal
                                                                                  guidance on informal
                                                                                  removals and improper use of
                                                                                  exclusionary practices. ODE
                                                                                  expects to roll out this
                                                                                  guidance in May 2023.
                                                                                  Wetherell Decl. ¶ 9.
    8. Oregon students without        Id. at 157-2, at 11.                        Not disputed.
    disabilities typically receive
    six hours of daily instruction.
    9. Students placed on SSDs        Id. at 157-2, at 5.                         Not disputed that the Neutral
    sometimes receive just one or                                                 Expert Report made this
    two hours of instruction each                                                 finding.
    day.
                                                                                  As detailed in the State’s
                                                                                  evidence, ODE is rolling out a
                                                                                  comprehensive framework to
                                                                                  address this finding and
                                                                                  prevent misuse of SSD in
                                                                                  Oregon. Wells Decl. ¶¶ 24-30;
                                                                                  Wetherell Decl. ¶¶ 5-17.
     10. Some students placed on    Id. at 63.                                    See response to ¶ 9.
     SSDs do not attend school at
     all.
     11. Very few students placed   Id. at 44.      See response to ¶ 9.
     on SSDs receive any
     instruction outside of school.
     12. A large number of students Id. at 44.      See response to ¶ 9.
     were placed on SSDs for
     multiple years.
     13. Dr. Bateman identified     Id. at 63.      See response to ¶ 9.
     students who remained on
     SSDs through the entire 2021-
     2022 school year
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         Asserted Undisputed
              Material Fact                  Cited Evidence                           State’s Response
     14. For many students,          Id. at 44; accord ECF No. 66-              Not disputed that the Neutral
     placement on SSDs starts as     2, at 12 (noting J.N. was                  Expert Report made this
     early as kindergarten.          placed on a one-hour-a-day                 finding or that the ECF No.
                                     SSD within one month of                    66-2 at 12 supports the stated
                                     enrolling in kindergarten).                parenthetical.

                                                                                As detailed in the State’s
                                                                                evidence, ODE is rolling out a
                                                                                comprehensive framework to
                                                                                address this finding and
                                                                                prevent misuse of SSD in
                                                                                Oregon. Wells Decl. ¶¶ 24-30;
                                                                                Wetherell Decl. ¶¶ 5-17.
     15. Some students’ SSDs were    ECF No. 157-2, at 80.                      See response to ¶ 9.
     predetermined prior to their
     enrollment and before their
     school district had conducted
     an FBA, BIP, or added
     behavioral goals to the
     student’s Individualized
     Education Program (“IEP”).
     16. Hundreds of students on     Id. at 32 (chart), 33                      The cited portion of the
     SSDs did not have an IEP that   (“significant differences                  Neutral Expert Report does
     listed or described SSDs        between students with                      not support this finding.
     anywhere.                       disabilities who are on SSDs
                                     and [the number who had]
                                     reasons for SSDs included in
                                     the IEP”).
     17. Most of the IEPs reviewed   Id. at 44         ODE’s abbreviated school
     by Dr. Bateman did not                            guidance addresses the criteria
     include written plans                             recommended in the Neutral
     regarding review of a                             Expert Report, including 1)
     student’s placement on SSD.                       the relationship between SSDs
                                                       and least restrictive
                                                       environment; (2) how to
                                                       calculate the amount of time a
                                                       child is in school; (3) how to
                                                       correctly document a student’s
                                                       setting particularly when a
                                                       child is on SSD; (4)
                                                       clarification that districts may
                                                       not use transportation needs
                                                       and/or administrative
                                                       convenience to dictate the
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        Asserted Undisputed
           Material Fact                      Cited Evidence                             State’s Response
                                                                                  timeframe of students with
                                                                                  disabilities attendance; (5)
                                                                                  how to document and report
                                                                                  Informal Removals for partial
                                                                                  school days; and (6) the use of
                                                                                  Functional Behavioral
                                                                                  Assessments, Behavior
                                                                                  Implementation Plans and
                                                                                  behavior goals. Wetherell
                                                                                  Decl. ¶¶ 7-9.
    18. Many IEPs for students on     Id. at 46.                                  See response to ¶ 17.
    SSDs have no BIP, and no
    behavioral goals for the
    student.
    19. Dr. Bateman found no          Id. at 42, 44.                              See response to ¶ 17.
    consistent provision of a re-
    entry plan for students placed
    on SSD, nor any IEP
    documented a student
    returning to a full-day of
    instruction.
    20. Dr. Bateman found no          Id. at 6.                                   See response to ¶ 17.
    “sufficient guidance, training,
    or other resources and support
    provided by ODE to help
    districts understand the [Least
    Restrictive Environment]
    considerations and the role of
    the IEP team to ambitiously
    move students back to a full-
    day.”
    21. ODE leadership                Id. at 45.    ODE’s position, which is
    “consider[s] SSD as part of                     reflected in its guidance and
    the continuum of placement                      training materials, is that
    options for students eligible                   SSDs should only be used in
    for special education—rather                    rare cases as a temporary
    than a temporary last resort                    intervention while staff
    with a cognizable plan to                       develop a plan to provide
    return to a full-day.”                          appropriate services to
                                                    students. Wetherell Decl. ¶ 8.
     22. ODE does not mandate     Id. at 42, 59.    ODE mandates trainings based
     trainings on “Shortened                        on needs identified through
     School Days (SSD), on how to                   monitoring of school districts
     prevent putting students on                    and noncompliance identified
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        Asserted Undisputed
            Material Fact                   Cited Evidence                             State’s Response
    SSD, or on how to ensure                                                    through dispute resolution.
    effective use of Functional                                                 Wetherell Decl. ¶ 10. These
    Behavior Assessments (FBAs)                                                 mandatory trainings may
    and Behavior Intervention                                                   include topics such as how to
    Plans (BIPs).”                                                              prevent putting students on
                                                                                inappropriate SSD, or on how
                                                                                to ensure effective use of
                                                                                Functional Behavior
                                                                                Assessments (FBAs) and
                                                                                Behavior Intervention Plans
                                                                                (BIPs). Id.; see also Jankowski
                                                                                Decl. ¶ 8.

    23. Voluntary trainings         Id. at 42-43.                               This finding is not correct.
    provided by ODE at the                                                      ODE trainings specifically
    Coalition of School                                                         address the importance of
    Administrator (“COSA”)                                                      early identification of
    Conference “were not about                                                  challenging behaviors and
    how to prevent or change the                                                early intervention with
    SSD process.”                                                               effective preventative
                                                                                strategies. Wetherell Decl.
                                                                                ¶ 10.
    24. Dr. Bateman found that      Id. at 43, 48, 55.                          This finding is moot. ODE is
    there is no effective way for                                               currently gathering data and
    ODE to gather and monitor                                                   monitoring the use of SSD
    data on the use of SSD and a                                                through several actions,
    “need to increase monitoring                                                including a short-term data
    of the use of SSD by ODE.”                                                  collection (2022-23 school
                                                                                year), focused monitoring on
                                                                                SSD (2022-23 school year),
                                                                                and development of a long-
                                                                                term permanent data
                                                                                collection to begin in the
                                                                                2023-24 school year. Wells
                                                                                Decl. ¶¶ 24-30.
     25. Dr. Bateman found “a lack Id. at 53, 52.                               This finding is moot. ODE is
     of behavior support resources                                              taking several actions to
     and training for teachers,                                                 increase behavior support
     administrators, and school                                                 resources and training for
     staff,” “the lack of mental                                                frontline staff throughout the
     health services and resources                                              state, including rural areas.
     for districts to access and                                                Wetherell Decl. ¶¶ 12-17.
     coordinate with to meet
     students’ needs,” and other
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          Asserted Undisputed
              Material Fact                 Cited Evidence                            State’s Response
     staffing gaps in “rural areas
     and hard-to-fill positions
     across the state.”
     26. School districts did not  Id. at 58.                                   The cited portion of the
     have a clear understanding                                                 Neutral Expert Report does
     from ODE regarding Senate                                                  not support this finding.
     Bill (S.B.) 263.
     27. Dr. Bateman made specific Id. at 6, 49-60, 63.                         Consistent with the terms of
     recommendations directed to                                                the Interim Settlement
     ODE to implement to address                                                Agreement, the Neutral Expert
     the “prolific use of SSD                                                   Report made advisory
     throughout the state.”                                                     recommendations to ODE.
                                                                                ODE is actively implementing
                                                                                many of these
                                                                                recommendations. Wetherell
                                                                                Decl. ¶¶ 6-18; Wells Decl. ¶¶
                                                                                5, 24-30.

                                                                                Plaintiffs’ experts opined that
                                                                                some of the advisory
                                                                                recommendations were
                                                                                confusing, not useful, not
                                                                                implementable, and/or not a
                                                                                high priority. Englander Decl.
                                                                                Ex. 1 at 6 (Hess Dep. 22:8),
                                                                                Id. at 8 (Ex. 3 to Hess Dep.);
                                                                                Englander Decl. Ex. 2
                                                                                (Greenwood Dep. 61:22-
                                                                                66:12, 67:25-69:10).
                                                  Plaintiffs
     28. Plaintiffs J.N. and B.M.    Ex. 1 [J.N. Jan. 11, 2022 IEP]             Disputed. Neither J.N. nor
     still receive SSD placements.   at PLTFS005122; Ex. 2 [B.M.                B.M. receive an abbreviated
                                     Apr. 20, 2022 IEP] at                      school day program placement
                                     PLTFS004952,                               as defined by ORS 343.161 or
                                     PLTFS004965.                               a shortened school day as
                                                                                defined by the Neutral Expert.

                                                              J.N. is in a full day behavior
                                                              program based at an
                                                              Educational Service District
                                                              and B.M. is placed on home
                                                              instruction. Wells Decl. ¶ 37.
     29. Oregon students who are Declaration of Selene        The cited evidence does not
     the children of COPAA       Almazan-Altobelli, ¶¶ 14-21. show that students who are the
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         Asserted Undisputed
             Material Fact                Cited Evidence                              State’s Response
    members, or Oregon students                                               children of COPAA members,
    whose parents are represented                                             or Oregon students whose
    by COPAA members, have                                                    parents are represented by
    been subjected to SSDs or are                                             COPAA members are
    at risk of being subjected to                                             currently experiencing an
    SSDs.                                                                     inappropriate SSD. See
                                                                              Almazan-Altobelli Decl. Exs
                                                                              1, 5, 6, 7 (emails from August
                                                                              and September 2022
                                                                              identifying potential class
                                                                              members); id. Ex. 2 (2019
                                                                              email correspondences
                                                                              referencing Special Education
                                                                              Task Force Report and one
                                                                              child’s response to hearing
                                                                              other “Oregon children speak
                                                                              in their own words about
                                                                              shortened days”); id. Ex. 3
                                                                              (2018 email from COPAA
                                                                              member who has “run into the
                                                                              reduced school day option that
                                                                              schools locally seem to be
                                                                              using more and more often”);
                                                                              id. Ex. 4 (2018 email from
                                                                              COPAA member who has
                                                                              identified potential plaintiffs
                                                                              for lawsuit).

                                                                              The numerous, proactive steps
                                                                              taken by ODE to implement
                                                                              key recommendations of the
                                                                              Neutral Report address any
                                                                              systemic risk that COPAA
                                                                              members may experience
                                                                              inappropriate SSDs.
                   ODE’s Knowledge and Failures
    30. ODE has been on notice of Ex. 3 [DRO 2013 Legislative                 To prevail, Plaintiffs must rely
    the SSD problem for nearly a  Testimony]; Ex. 4 [Mar. 2017                on current—not historical—
    decade.                       meeting notes, ODE reports                  facts. ODE is currently
                                  that DRO informed them of                   implementing a
                                  15-25 calls a month regarding               comprehensive approach to
                                  SSDs] at CPAA-ODE-                          address the use of abbreviated
                                  000416; Ex. 5 [Shortened                    school days by Oregon school
                                  School Day Call Log for                     districts, including issuance of
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        Asserted Undisputed
           Material Fact                    Cited Evidence                             State’s Response
                                    Neutral Expert]; Ex. 6 [Feb.                 guidance, data collection,
                                    2019 Emails to/from ODE                      pervasive training and
                                    Director Colt Gill]; Ex. 7                   professional development, and
                                    [Sept. 2018 Email to ODE                     investment of resources into
                                    staff Elliott Field]; Ex. 8 [Mar.            new technical assistance
                                    2019 Email from Bruce Baker,                 networks. Wetherell Decl.
                                    Oregon Office of                             ¶¶ 6-17; Wells Decl. ¶¶ 8-36.
                                    Developmental Disability
                                    Services to ODE staff Jeremy
                                    Wells] at CPAA-ODE-
                                    005935; Ex. 9 [FACT Oregon
                                    Response to Information
                                    Requested July 1, 2021]
                                    (approximately 100 callers
                                    request support from FACT
                                    Oregon each year regarding
                                    SSDs).
    31. ODE’s internal              Ex. 10 [Mar. 2017 Email from                 See response to ¶ 30.
    communications show that the ODE staff Mike Franklin] (in
    SSD problem was well-known ODE discussion of S.B. 263,
    and that ODE staff recognized states that “lack of resources”
    that districts often lacked the is “the primary problem”); Ex.
    resources to serve students     11 [ODE Senate Bill 263
    with disabilities effectively.  Discussion] at CPAA-ODE-
                                    006322 and CPAA-ODE-
                                    006323 (districts don’t
                                    “always follow[]” the
                                    protections against SSDs,
                                    “alternative placements . . .
                                    don’t necessarily exist”); see
                                    also Ex. 12 [Mar. 2017 Email
                                    from ODE Staff Elliot Field]
                                    at CPAA-ODE-004509 (the
                                    “primary issue is lack of
                                    behavior-related
                                    resources/training and primary
                                    consequence is
                                    disruption/conflict with IEP
                                    team decision making”).
    32. In 2017, Senate Bill        Ex. 13 [Feb. 2017 Youth,                     See response to ¶ 30.
    (“S.B.”) 263 was introduced in Rights & Justice Testimony in
    the legislative session.        Support of S.B. 263]; Ex. 14
    Through public testimony,       [Feb. 2017 IDD Coalition
    other Oregon stakeholders       Testimony in Support of S.B.
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          Asserted Undisputed
              Material Fact                      Cited Evidence                            State’s Response
     alerted ODE to the problem of       263]; Ex. 15 [Feb. 2017 FACT
     SSD use: they described SSDs        Oregon Testimony in Support
     as “vexing and longstanding,”       of S.B. 263] at 2.
     happening at “unprecedented
     rates,” and “a widespread
     problem for Oregon students
     with disabilities.”
     33. From December 2018              Ex. 5.                                      See response to ¶ 30.
     through January 2022, ODE
     call logs record 37 different                                                   In addition, as part of its
     inquiries related to SSDs.                                                      universal monitoring and
                                                                                     supports, ODE receives phone
                                                                                     calls from parents, school
                                                                                     districts, advocates and
                                                                                     provides technical assistance
                                                                                     to callers to ensure that they
                                                                                     have access to resources and
                                                                                     information for problem
                                                                                     solving and next steps. Wells
                                                                                     Decl. ¶ 22. ODE tracks these
                                                                                     calls in a call log; Between
                                                                                     December 1, 2018, through
                                                                                     the end of January 2022, ODE
                                                                                     logged approximately 1,200
                                                                                     calls onto the call log. Wells
                                                                                     Id. Of those 1,200 inquiries,
                                                                                     approximately 37 related to
                                                                                     SSDs.
     34. In October 2021, ODE            Ex. 16 [Deposition of Dr. Eric               Undisputed.
     received information                Wells] at 184:14- 186:25 (top
     regarding reduced school time       ODE officials learned about
     for students with disabilities in   the systemic use of SSDs by
     the life skills programs of         both Lane and Clackamas
     Clackamas and Lane County           Education Service Districts
     Educational Service Districts       (“ESDs”) through email
     (“ESD”).                            exchanges in October 2021);
                                         Ex. 17 [Wells Dep. Ex. 5].
     35. In November 2021, ODE           Ex. 5 at row 8.       Undisputed.
     received a phone complaint
     regarding the Lane County
     ESD Life Skills program.
     ODE did not formally
     investigate this complaint.
     36. ODE did not open an     Ex. 18 [Deposition of Tenneal Upon learning of the life skills
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         Asserted Undisputed
             Material Fact                 Cited Evidence                              State’s Response
    investigation into this program Wetherell] at 92:15; Ex. 16 at              programs at Lane and
    until June 2022, after the Lane 183:14-25.                                  Clackamas ESDs, ODE met
    and Clackamas County ESD                                                    with both ESDs, provided
                                                                                technical assistance and asked
    programs had received media                                                 for regular updates to their
    and legislative attention.                                                  attempts to bring the programs
                                                                                back to full time in-person
                                                                                status. Wetherell Decl. ¶ 22,
                                                                                n.1. During the time period of
                                                                                October to June 2022, ODE
                                                                                was working to ensure
                                                                                adoption of OAR 581-015-
                                                                                2015, the state-level
                                                                                administrative rule that gives
                                                                                ODE authority to enforce
                                                                                general supervision
                                                                                requirements when lower-
                                                                                level interventions prove
                                                                                inadequate to address
                                                                                identified special education
                                                                                issues. Id. Upon adoption of
                                                                                this rule on June 23, 2022,
                                                                                ODE immediately moved
                                                                                forward with its investigations
                                                                                of Lake and Clackamas ESDs.
                                                                                Id.
    37. ODE also began an           Ex. 18 at 92:15.                            Undisputed.
    investigation into a similar
    practice by the Clackamas
    ESD in approximately June
    2022.
    38. Other than the Lane and     Ex. 19 [Defs.’ Resp. to Pls.’    This fact is not supported by
    Clackamas situations, ODE       First Set of RFPs] at 8; see Ex. the cited materials and
    never opened any independent    5.                               misconstrues the intent of the
    investigations of the SSD                                        contact log, which is to
    problems raised in those 37                                      provide technical assistance to
    inquiries.                                                       callers to ensure that they have
                                                                     access to resources and
                                                                     information for problem
                                                                     solving and next steps. Wells
                                                                     Decl. ¶ 22.
    39. In December 2016, ODE       Ex. 20 [Dec. 2016 Emails re      See response to ¶ 30.
    staff were told that Douglas    Douglas County] at CPAA-
    County ESD was operating an     ODE-001873, CPAA-ODE-
    SSD program for at least 15     001875- CPAA-ODE-
    students for “behavioral        0018756.
    reasons,” and explaining “all
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         Asserted Undisputed
             Material Fact                  Cited Evidence                            State’s Response
    students [in the program] are
    on a reduced school day
    schedule in some way,” with
    some only attending a few
    hours a day. The caller
    described the students as
    “feral.” The district official
    told ODE that “we are not the
    only ones in the state doing
    this.” ODE offered a “sit
    down” with the caller
    regarding Douglas County
    ESD program, but there is no
    evidence of any further ODE
    action.
    40. During ODE’s                 Ex. 21[Wells Dep. Ex. 3] at                Undisputed.
    investigation of a 2021 state    CPAA-ODE-026029; Ex. 16
    complaint alleging systemic      at 61:8-21; 174:4-17
    violations of law by both ODE
    and Klamath Falls City School
    District (“KFCSD”), ODE
    officials were informed that
    KFCSD had created its SSD
    program by “[m]imick[ing]
    half day programs from
    nearby districts.” ODE did not
    conduct any investigation of
    the use of SSD programs
    elsewhere in nearby districts
    even though the routine use of
    SSDs in the Southern Oregon
    ESD STEPS Plus program
    was revealed as part of this
    investigation and later
    confirmed by ODE.
    41. ODE also had notice of the   Ex. 22 [Defendants’                        See response to ¶ 30.
    scope of the SSD problem         Supplemental Interrogatory
    through 25 state                 Responses] at 5 & 6.                       ODE’s newly designed system
    administrative complaints and                                               of general supervision
    four requests for due process                                               enhances ODE’s ability to use
    hearings between January                                                    dispute resolution data to
    2016 and October 14, 2022                                                   inform other activities of
    regarding SSDs.                                                             general supervision, including
                                                                                monitoring activities and data
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        Asserted Undisputed
           Material Fact                      Cited Evidence                 State’s Response
                                                                      collection requirements.
                                                                      Wells Decl. ¶ 13.
    42. ODE has had knowledge          Ex. 5 at row 11-13 (Medford); ODE is requiring that every
    of the use of SSD in multiple      Ex. 23 [Sept. 2021 Emails re   school district in Oregon—
    school districts, including        Medford]; Ex. 24 [Oct. 2021    including Medford, Brookings
    Medford, Brookings Harbor,         Emails re Medford              Harbor, North Wasco, and
    North Wasco, and Grants Pass       Voicemail]; Ex. 25 [Sept.      Grants Pass School Districts—
    School Districts.                  2017 Email Chain re            participate in focused
                                       Medford]; Ex. 26 [ODE          monitoring related to
                                       Overall District Count of      abbreviated school day
                                       SSDs, 2016-2020]; Ex. 27       placements. Wells Decl.
                                       [Brookings Harbor Corrected    ¶¶ 24-25. ODE is further
                                       Findings of Fact, Conclusions requiring that every school
                                       (“FFC”) and Final Order]; Ex. district in Oregon provide
                                       28 [North Wasco FFC and        monthly data submissions
                                       Final Order]; Ex. 29 [Sept.    regarding every student with
                                       2019 Emails re North Wasco]; disability in the district who
                                       Ex. 30 [Grants Pass FFC and    has received an abbreviated
                                       Final Order]; Ex. 31 [Feb.     school day program placement
                                       2022 Emails re Grants Pass] at for more than 30 school days.
                                       CPAA-ODE-019600.               Id. ¶¶ 28-29. ODE is in the
                                                                      process of developing a formal
                                                                      data collection on abbreviated
                                                                      school day program
                                                                      placements, with the goal of
                                                                      launching this data collection
                                                                      in the 2023-24 school year,
                                                                      which will apply to every
                                                                      school district in Oregon. Id.
                                                                      ¶ 30.

                                                                                  ODE is implementing a
                                                                                  comprehensive systemic
                                                                                  approach to address
                                                                                  abbreviated school days in
                                                                                  Oregon. Wetherell Decl. ¶¶ 6-
                                                                                  17.
    43. Dr. Bateman found that         ECF No. 157-2, at 33-34; Ex.               See response to ¶ 42.
    Medford had the third-largest      32 [Abbreviated Day Informal
    number of students on SSDs         Data Submission Summary,
    of any district in the state. In   Oct., Nov., Dec. 2022].
    December 2022, 42 students
    in Medford were still
    subjected to SSD.
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         Asserted Undisputed
             Material Fact                   Cited Evidence                            State’s Response
    44. Though Brookings Harbor       Ex. 27 at 7 (students on SSDs              See response to ¶ 42.
    School District was the subject   that were 2 to 3 hours per
    of a state administrative         day); Ex. 32 (in December
    complaint in 2017, which          2022, Brookings Harbor
    complaint included the use of     School District still had 6
    SSDs with four students, the      students on SSDs for 30 days
    district’s use of SSDs has        or more).
    barely fluctuated since that
    complaint.
    45. More students have been       Compare Ex. 32 with Ex. 26                 See response to ¶ 42.
    subjected to SSD in North         (more students on SSDs in
    Wasco during the 2022- 2023       North Wasco in the 2022-2023
    school year than prior school     school year than in prior
    years.                            years).
    46. More students have been       Compare Ex. 32 with Ex. 26                 See response to ¶ 42.
    subjected to SSD in Grants        (more students on SSDs in
    Pass during the 2022- 2023        Grants Pass in the 2022-2023
    school year than in prior         school year than in prior
    school years.                     years).
    47. ODE considers SSDs to be      Ex. 33 [ODE, Abbreviated                   Undisputed.
    the most restrictive school day   School Day Programs:
    program.                          Considerations for IEP
                                      Teams] at 7, Fig. 3.
    48. ODE has not adopted           See, e.g., Ex. 16 at 72:7-11,              Disputed. ODE has adopted
    many of the Bateman Report’s      75:4-6, 79:7-12, 80:13-22,                 many of the Neutral Expert
    recommendations.                  81:24-82:5, 83:1-6, 84:9-18;               Report’s Recommendations.
                                      Ex. 18 at 207:1-7; 209:1-8;                Wetherell Decl. ¶¶ 6-18;
                                      212:2-17.                                  Wells Decl. ¶¶ 5, 24-30.

    49. ODE has not adopted Dr.       ECF No. 157-2, at 51, 54; Ex.              Disputed. ODE is actively
    Bateman’s recommendations         16 at 75:4-6.                              building capacity, internally at
    about the additional personnel                                               ODE and through creation of
    and resources needed to                                                      statewide and regional support
    address SSDs.                                                                networks, to create additional
                                                                                 personnel and resources to
                                                                                 address SSD. Wetherell Decl.
                                                                                 ¶¶ 14-17.
     50. Data collection initiated by Ex. 18 at 82:6-17.                         Disputed. The focused
     ODE for the 2022-2023 school                                                monitoring implemented in
     year related to SSDs only                                                   2022-23 school year is for all
     requires districts to report                                                students placed on abbreviated
     about students receiving SSD                                                school day. Wells Decl. ¶¶ 24-
     for 30 consecutive days or                                                  25.
     longer.
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        Asserted Undisputed
           Material Fact                  Cited Evidence                             State’s Response
                                                                              For the separate, additional
                                                                              short-term data collection,
                                                                              ODE is requiring school
                                                                              districts to provide monthly
                                                                              data submissions regarding
                                                                              every student with disability in
                                                                              the district who has received
                                                                              an abbreviated school day for
                                                                              more than 30 school days. Id.
                                                                              ¶ 28. ODE selected 30 days
                                                                              because the Neutral Expert
                                                                              Report identified 30 days as
                                                                              an appropriate monitoring
                                                                              threshold. See Ex. 157-1 at
                                                                              164 (recommending that
                                                                              school districts be required to
                                                                              report to ODE if a student is
                                                                              placed on SSD for 30 days or
                                                                              more); id. at 137-38
                                                                              (identifying 30 days on an
                                                                              SSD as the trigger for
                                                                              providing intensive supports).

    51. ODE developed an           See Ex. 16 at 254:5-255:5; Ex.             Disputed. ODE will continue
    Abbreviated Day protocol       18 at 75:3-7 (metrics to                   to use the abbreviated school
    (“AD Protocol”) that will      determine whether SSDs                     day program protocols, or
    cease to be used when ODE      would be designated as the                 individual standards drawn
    no longer designates SSDs as   Emergent Area for subsequent               from it, in future school years,
    an “Emergent Area.”            school years not yet                       as it deems appropriate. Wells
                                   “contemplated”).                           Decl. ¶ 27. Based on the
                                                                              results of the focused
                                                                              monitoring and the short-term
                                                                              data collection discussed
                                                                              below, ODE will decide
                                                                              whether abbreviated school
                                                                              day program placements will
                                                                              continue to be the
                                                                              emergent/emergency
                                                                              monitoring priority next
                                                                              school year or beyond. Id.
    52. Though the AD Protocol     Ex. 34 [Priority Area 6:                   Disputed. Wells Dep. at
    lists 25 yes/no “Record        Abbreviated Day, Wells Dep.                113:17-114:3 does not support
    Review Items” for school       Ex. 8]; Ex. 18 at 113:17-                  this fact. To the contrary,
    districts to answer for each   114:3.                                     Abbreviated School Day
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         Asserted Undisputed
             Material Fact                   Cited Evidence                             State’s Response
    student placed on SSD, none                                                  protocols require school
    of these items require school                                                districts to provide
    districts to provide                                                         information about whether
    information about whether the                                                each student is actually
    student is actually making                                                   making progress towards
    progress.                                                                    meeting her goals. Wells Decl.
                                                                                 ¶ 25.
    53. ODE conducted a focused      Ex. 35 [Klamath County                      Undisputed.
    monitoring visit of Klamath      Findings Report], at CPAA-
    County School District in        ODE-037317.
    October 2022, and produced a
    report in December 2022
    detailing its findings.
    54. As part of its focused       Ex. 35 at 28-29 (stating that               Disputed. This fact is not
    monitoring of Klamath            “ODE was unable to confirm”                 supported by the cited
    County, ODE did not actually     that four students were                     evidence, which shows that
    confirm that any students were   receiving “the total number of              ODE specifically assessed
    on SSD.                          instruction hours . . . afforded            compliance with FAPE-10
                                     to students without IEPs”).                 (i.e., whether the student’s
                                                                                 school day/week include the
                                                                                 total number of instructional
                                                                                 hours (SDI & GE instruction)
                                                                                 afforded to students without
                                                                                 IEPs), identified
                                                                                 noncompliance, and ordered
                                                                                 corrective action to address it.

                                                                                 In addition, the focused
                                                                                 monitoring in Klamath County
                                                                                 was not intended to examine
                                                                                 the use of abbreviated school
                                                                                 day program placements
                                                                                 because, like all Oregon
                                                                                 school districts, Klamath
                                                                                 County is participating in a
                                                                                 separate focusing monitoring
                                                                                 specific to abbreviated school
                                                                                 days and that process is
                                                                                 ongoing. Wells Decl. ¶¶ 24-
                                                                                 25.
     55. Klamath County self-      Ex. 32.                                       Undisputed.
     reported it had nine students
     on SSDs in October,
     November, and December of
     2022.
     56. As of January 30, 2023,   Ex. 18 at 74:8-75:2. Disputed. ODE will continue
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        Asserted Undisputed
            Material Fact                Cited Evidence                              State’s Response
    ODE had not yet decided                                                  monitoring through permanent
    whether it would continue any                                            data collection, abbreviated
    data monitoring of SSD                                                   school day action team, and
    beyond the end of the 2023                                               other mechanisms. Wells
    school year.                                                             Decl. ¶ 30; Wetherell Decl.
                                                                             ¶ 15. In addition, ODE will
                                                                             continue to use the
                                                                             abbreviated school day
                                                                             program protocols, or
                                                                             individual standards drawn
                                                                             from it, in future school years,
                                                                             as it deems appropriate. Wells
                                                                             Decl. ¶ 27. Based on the
                                                                             results of the focused
                                                                             monitoring and the short-term
                                                                             data collection discussed
                                                                             below, ODE will decide
                                                                             whether abbreviated school
                                                                             day program placements will
                                                                             continue to be the
                                                                             emergent/emergency
                                                                             monitoring priority next
                                                                             school year or beyond. Id.
    57. Oregon distributes federal Ex. 36 [ODE, Federal IDEA                 Undisputed.
    special education funding to    Funding].
    each school district
    proportionate to “the LEA’s
    [school district’s] number of
    children receiving special
    education services.”
    58. The amount of funding a     See id.                                  ODE’s administrative rule
    school district receives is not                                          allows it to reduce funding if a
    reduced if a student is on SSD.                                          district does not take require
                                                                             corrective action with respect
                                                                             to, among other things,
                                                                             inappropriate use of SSDs.
                                                                             ODE has determined that, as a
                                                                             policy matter well within its
                                                                             discretion, reducing a school
                                                                             district’s funding should be a
                                                                             last resort, used only after
                                                                             other efforts to address
                                                                             identified inappropriate use of
                                                                             shortened school days has
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          Material Fact               Cited Evidence                             State’s Response
                                                                          been identified. See OAR
                                                                          581-015-2000(12) (allowing
                                                                          ODE to reduce funding if a
                                                                          school district does not take
                                                                          required corrective action).
                                                                          Plaintiffs’ own expert supports
                                                                          this policy choice. See
                                                                          Englander Decl. Ex. 2
                                                                          (Greenwood Dep. 69:5-9).


          DATED April 13, 2023.
                                                 Respectfully submitted,

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